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AO 245B (Rev. 02/18)          Judgment in a Criminal Case
                              Sheet 1
                                                                                                                                       FILED
                                                 UNITED STATES DISTRICT COURT                                                        Clerk. U.S. District Court
                                                                                                                                       District Of Montana
                                                                           District of Montana                                                Helena
                                                                                      )
                   UNITED STATES OF AMERICA                                           )      JUDGMENT IN A CRIMINAL CASE
                                          v.                                          )
                                                                                      )
                               RICHARD CEYNAR                                                 Case Number: CR 17-18-H-SEH-03
                                                                                      )
                                                                                      )      USM Number: 17038-046
                                                                                      )
                                                                                      )        Peter F. Lacny
                                                                                              Defendant's Attorney
                                                                                      )
THE DEFENDANT:
liZI pleaded guilty to count(s)                Superseding Information

D pleaded nolo contendere to count(s)
  which was accepted by the court.
D was found guilty on count(s)
    after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                           Nature of Offense                                                          Offense Ended

  16 U.S.C, §§ 3372(11)(2), 3373(d}(2)     Interstate Transport and Poesession of Illegally Killed Mountein Lion.     2/8/2013




       The defendant is sentenced as provided in pages 2 through                     __4___ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
 D The defendant has been found not guilty on count(s)
• Count(s) - - - - - - - - - - - - - Dis                                      D are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days ofany change of name, residence,
or mailing address until all fmes, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenaant must notify the court and United States attorney of material c:tianges in economic circwnstances.




                                                                                      Sam E. Haddon, United States District Judge
                                                                                     Name and Title of Judge


                                                                                      3/21/2018
                                                                                     Dote
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AO 245B (Rev. 02/18) Judgment in Criminal Case
                     Sheet 2 - Imprisonment
                                                                                                       Judgment - Page -~2~_ of   4
DEFENDANT: RICHARD CEYNAR
CASE NUMBER: CR 17-18-H-SEH-03

                                                             IMPRISONMENT
            The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
 term of:
                0 months.




     D The court makes the following recommendations to the Bureau of Prisons:




     0      The defendant is remanded to the custody of the United States Marshal.

     0 The defendant shall surrender to the United States Marshal for this district:
            0     at   _________                  • a.m.        0 p.m.       on

            0 as notified by the United States Marshal.

     0      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

            D before 2 p.m. on
            D as notified by the United States Marshal.
            D as notified by the Probation or Pretrial Services Office.


                                                                   RETURN

 I have executed this judgment as follows:




            Defendant delivered on                                                        to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                                    UNITED STATES MARSHAL



                                                                           By
                                                                                                DEPUTY UNITED STATES MARSHAL
                       Case 6:17-cr-00018-SEH Document 233 Filed 03/21/18 Page 3 of 4
AO 245B (Rev. 02/18)   Judgment in a Criminal Case
                       Sheet 5 - Criminal Monetary Penalties
                                                                                                             Judgment - Page -~3~- of _ _....:,:._ _
 DEFENDANT: RICHARD CEYNAR
 CASE NUMBER: CR 17-18-H-SEH-03
                                               CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                        Assessment                JVT A Assessment*                      Fine                      Restitution
 TOTALS            $ 25.00                      $ N/A                                  $ 10,000.00               $ N/A



 D    Thedetenninationofrestitutionisdeferreduntil _ _ _ _ . An Amended Judgment in a Criminal Case(A.0245CJ will be entered
      after such determination.

 D    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment) unless specified otherwise in
      the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
      before the United States is paid.

 Name of Payee                                                            Total Loss**            Restitution Ordered            Priority or Percentage




 TOTALS                               s ______o_.o_o:._                            $
                                                                                       - - - - - - -0.00
                                                                                                    --

 D     Restitution amount ordered pursuant to plea agreement $

 D     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(1). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to I 8 U.S.C. § 3612(g).

 D     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       D    the interest requirement is waived for the           D       fine   D restitution.
       D    the interest requirement for the        D     fine       D     restitution is modified as follows:

 • Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
 •• Findings for the total amount oflosses are required under Chapters I 09A, JI 0, I IOA, and 113A of Title I 8 for offenses committed on or
 after September 13, 1994, but before April 23, 1996.
                     Case 6:17-cr-00018-SEH Document 233 Filed 03/21/18 Page 4 of 4
AO 245B (Rev. 02/18) Judgment in a Criminal Case
                     Sheet 6 - Schedule of Payments
                                                                                                         Judgment - Page _4__ of              4
DEFENDANT: RICHARD CEYNAR
CASE NUMBER: CR 17-18-H-SEH-03

                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A
       •      Lump sum payment of$                            due immediately, balance due


              •    not later than                                 , or
              •    in accordance with
                                        •   C,    •    D,     •    E, or     D Fbelow; or

B      •      Payment to begin immediately (may be combined with           • c.      0D,or        D F below); or

C      D      Payment in equal _ _ _ _ _ (e.g., weekly, monthly, quarterly) installments of $ - ~ - , - - ~ ~ ~ over a period of
             _ _ _ _ _ (e.g., months or years), to commence _____ (e.g., 30or 60 days) after the date of this judgment; or

D      D      Payment in equal _ _ _ _ _ (e.g., weekly, monthly, quarterly) installments of $ - - - ~ - - - over a period of
             _ _ _ _ _ (e.g., months or years), to commence _____ (e.g., 30 or 60 days) after release from imprisonment to a
              term of supervision; or

E      D      Payment during the term of supervised release will commence within _ _ _ _ _ (e.g., 30 or 60 days) after release from
              imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F      iZl    Special instructions regarding the payment of criminal monetary penalties:

               Special assessment and fine shall be immediately due and payable.




Unless the court has expressly ordered otherwise, ifthis judgment imposes imprisonment, payment ofcriminal monetary penalties is due during
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




D      Joint and Several

       Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
       and corresponding payee, if appropriate.




D      The defendant shall pay the cost of prosecution.

D      The defendant shall pay the following court cost(s):

l1'l   The defendant shall forfeit the defendant's interest in the following property to the United States:
        The taxidermied mountain lion mount.


Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
